    USDC IN/ND case 4:22-cv-00029-JVB-JEM document 5 filed 06/09/22 page 1 of 1

                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                             HAMMOND DIVISION AT LAFAYETTE


MINDY BRENNAN,               )
                             )
          Plaintiff,         )
                             )
    v.                       ) CAUSE NO: 4:22-cv-00029-JVB-JEM
                             )
FRONTIER SCHOOL CORPORATION, )
                             )
          Defendant.         )

                                   STIPULATION OF DISMISSAL

       Comes now Plaintiff, by counsel, pursuant to Federal Rule of Civil Procedure 41(a)(A)(ii), and

hereby stipulates to the dismissal of this lawsuit with prejudice, each party to bear her/its own costs,

including attorneys’ fees.

                                       Respectfully submitted,



                                                      s/ John H. Haskin
                                                      John H. Haskin, Attorney No. 7576-49

                                                      s/ Keenan D. Wilson
                                                      Keenan D. Wilson, Attorney No. 32195-49

                                                             JOHN H. HASKIN & ASSOCIATES
                                                      255 North Alabama Street, 2nd Floor
                                                      Indianapolis, Indiana 46204
                                                      Telephone:     (317)955-9500
                                                      Facsimile:     (317)955-2570
                                                      Email jhaskin@jhaskinlaw.com
                                                      kwilson@jhaskinlaw.com
                                                      Attorneys for Plaintiff: Mindy Brennan
